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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 0:18-cv-62567-WPD

  HOWARD MICHAEL CAPLAN,

                 Plaintiff,

                 vs.

  CTHAI LLC, a Florida Limited Liability
  Company, d/b/a THAI ORIENTAL MART
  and HILDA BESNER, as Trustee Of The
  Adele Besner Trust Under Agreement With
  Hanna S. Besner Dated June 7, 1985

            Defendants.
  _______________________________/

                                    ORDER CLOSING CASE

          THIS CAUSE is before the Court sua sponte. The Court entered an Order Approving

  Stipulation of Dismissal with Prejudice [DE 46]. Upon review of the record in this case, and being

  otherwise fully advised in the premises it is hereby ORDERED and ADJUDGED that the Clerk

  is DIRECTED to CLOSE this case and DENY any pending motions as moot.

          DONE AND ORDERED in Chambers in Ft. Lauderdale, Florida this 17th day of April,

  2019.




  Copies to:
  All parties of record
